Case 2:09-cv-00281-J-BB      Document 59    Filed 06/02/11    Page 1 of 3   PageID 481



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION

   HENRY WATKINS SKINNER,                  )
                                           )
                Plaintiff,                 )
                                           )
                v.                         )      Civil Action No. 2:09-CV-00281
                                           )
   LYNN SWITZER, District Attorney         )
        for the 31st Judicial District     )
        of Texas,                          )
                                           )
                Defendant.                 )


                              DEFENDANT’S MOTION
                             FOR SUMMARY JUDGMENT


         Defendant Lynn Switzer moves this Court for summary judgment

   against plaintiff Henry Skinner on the grounds that there are no genuine

   issues as to any material fact and that Ms. Switzer is entitled to judgment as

   a matter of law concerning: (1) Skinner’s Fourteenth Amendment due-process

   claim; (2) Skinner’s Eighth Amendment claim; and (3) Ms. Switzer’s defense

   of res judicata. See FED. R. CIV. P. 56; L.R. 56.1–65.7.

         The legal and factual grounds on which Ms. Switzer relies in support of

   her motion are set forth in Defendant’s Brief in Support of her Motion for

   Summary Judgment. Additionally, the evidence on which Ms. Switzer relies

   upon is contained in the Appendix to her brief.
Case 2:09-cv-00281-J-BB   Document 59   Filed 06/02/11     Page 2 of 3   PageID 482



                                 Respectfully submitted.

                                 GREG ABBOTT
                                 Attorney General of Texas

                                 DANIEL T. HODGE
                                 First Assistant Attorney General

                                 DAVID C. MATTAX
                                 Director of Defense Litigation



                                  s/ Jonathan F. Mitchell
                                 JONATHAN F. MITCHELL
                                 Solicitor General
                                 State Bar No. 24075463

                                 ARTHUR C. D’ANDREA
                                 Assistant Solicitor General

                                 OFFICE OF THE ATTORNEY GENERAL
                                 P.O. Box 12548 (MC 059)
                                 Austin, Texas 78711-2548
                                 Tel. (512) 936-1695
                                 Fax. (512) 474-2697

                                 COUNSEL FOR DEFENDANT




                                        2
Case 2:09-cv-00281-J-BB   Document 59   Filed 06/02/11   Page 3 of 3   PageID 483



                          CERTIFICATE OF SERVICE

         I hereby certify a copy of this motion and proposed order was served

   via ECF on June 1, 2011 to:

   Robert C. Owen
   OWEN & ROUNTREE
   PO Box 40428
   Austin, TX 78704
   512/804-2661
   Fax: 512/804-2685 FAX
   Email: robowenlaw@gmail.com

   Douglas Robinson
   SKADDEN ARPS SLATE MEAGHER & FLOM LLP
   1440 New York Ave NW
   Washington, DC 20005
   202/371-7800
   Fax: 202/371-7168
   Email: drobinso@skadden.com

   Maria Cruz Melendez
   SKADDEN ARPS SLATE MEAGHER & FLOM LLP
   Four Times Square
   New York, NY 10036
   212/735-2435
   Fax: 917/777-2435
   Email: maria.cruzmelendez@skadden.com

   COUNSEL FOR PLAINTIFF



                                        /s/ Jonathan F. Mitchell
                                        JONATHAN F. MITCHELL
                                        Solicitor General




                                        3
